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The following constitutes the ruling of the court and has the force and effect therein described.



Signed August 3, 2023
                                           United States Bankruptcy Judge
______________________________________________________________________




                                     UNITED STATES BANKRUPTCY COURT
                                       NORTHERN DISTRICT OF TEXAS
                                           FORT WORTH DIVISION


     IN RE:                                                                       CASE NO.: 22-40421-ELM-13
              DIANNE LOUISE DORMAN
                100 ASCOT DR
                SOUTHLAKE, TX 76092
                SSN/TIN: XXX-XX-0339

     DEBTOR

                              ORDER DISCHARGING STANDING TRUSTEE,
                     TERMINATING FURTHER LIABILITY ON BOND, AND CLOSING CASE

         It appearing to the Court that Pam Bassel, Standing Chapter 13 Trustee in the above -styled case
     pending under Chapter 13 of Title 11 of the United States Code, has filed a Final Report and Accounting
     showing that the estate in this case has been fully administered; that the Standing Trustee does not hold
     any funds to be paid or distributed in this case; that the Trustee should be discharged and further liability
     on the said Trustee's bond with respect to this case be terminated.

         IT IS THEREFORE ORDERED:

          That Pam Bassel, Standing Chapter 13 Trustee in this case, is discharged; that the Trustee and the
     sureties or surety on the Trustee's Bond are relieved from liability with respect to this case, except such
     liability as may have accrued heretofore; that such Bond is cancelled; and that the Chapter 13 case of the
     above-named Debtor is closed.


                                               # # # End of Order # # #
